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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA          )
                                  )
                                  )
v.                                )    Case No. 21-cr-00083-TNM
                                  )
BRANDON FELLOWS,                  )
                                  )
                                  )
                Defendant         )
                                  )



     DEFENDANT BRANDON FELLOW’S MOTION TO CONTINUE TRIAL




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      NOW COMES Defendant Brandon Fellows by and through his “Stand-By

Counsel,” William L. Shipley, Esq., and respectfully requests this Honorable

Court to Continue the trial currently scheduled for August 26, 2023.

      To date, Defendant Fellows has yet to receive complete access to

discovery materials and copies of docketed materials that have been sent to

both by the undersigned counsel and Government Counsel.

      As this Court is aware, on June 15, 2023, Defendant Fellows was

transported from FCI Lewisburg back to Washington D.C. Department of

Correction (“DOC”). Since the move both Government Counsel and

undersigned counsel have had to resend trial materials, including discovery

materials to Defendant Fellows. As of the date of this Motion, undersigned

counsel has not been able to confirm what materials have been received by the

facility, what materials have been delivered to Fellows, what materials are yet

to be delivered, and any estimate timeline for such delivery – all as set forth in

more detail below.

      The following is the timeline of both undersigned and Government

counsel’s efforts to get all materials to Defendant Fellows.

   1. Government counsel sent Discovery Set 1 (“DS1”) on June 27, 2023.

      This material includes – based on unsigned counsel’s understanding –

      videos, photos, and other case specific materials relating to Defendant

      Fellows.

   2. Defendant Fellows was not given phone or email privileges at DOC for

      purposes of communicating with undersigned counsel until July 2, 2023,

      even though he had been at the DOC facility for more than two weeks by
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   that point, having been moved from FCI Lewisburg on or around June

   19, 2023.

3. Hard copy documentary discovery materials had been sent by

   undersigned counsel to Fellows at FCI Lewisburg on or about April 5 and

   May 31, 2023. Those materials had not been delivered to Fellows as of

   June 19, 2023, when he was transferred to DOC, and Lewisburg

   returned those materials to undersigned counsel.

4. The inability of undersigned counsel to transfer video evidence to Fellows

   at Lewisburg, and the facilities rules that allowed such evidence to come

   only from the Government, was communicated to this Court during the

   status conference on April 11, 2023. The extent to which the

   Government was actually been able to deliver video discovery to Fellows

   prior to his June transfer to DOC is not known to counsel.

5. The extent to which Fellows was allowed to take materials with him from

   Lewisburg to DOC as part of his personal property is also now known but

   counsel, but it is believed that little or no legal materials accompanied

   him based on limited contact that has been possible since his transfer.

6. On July 3, 2023, undersigned counsel was instructed by DOC on the

   current procedures for sending discovery and other legal materials to

   Fellows.

7. Undersigned sent separate mailings of discovery materials and Pretrial

   Motions previously filed by the Government and needing a response from

   Fellows on July 5, 2023, pursuant to the instructions given. These were

   the same materials that had been sent to FCI Lewisburg on multiple
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      occasions, returned for unexplained failures to comply with Lewisburg

      policies, and eventually returned again because they arrived after Fellows

      had been transferred to DOC.

   8. Government counsel sent Discovery Set 2 (“DS2”) on July 14, 2023.

   9. Fellows reported to counsel that he received DS1 from the Government

      on July 10, 2023. Fellows reported that he received one set of materials

      from undersigned counsel – the hard copy discovery materials -- on July

      13, 2023.

      Defendant Fellows has been out of contact with undersigned counsel

since July 13, 2023, other than a comment on July 14 that he had not received

DS2 from the Government, nor the previously filed pretrial motions which were

rejected twice by FCI Lewisburg, and are now at DOC but apparently not yet

delivered to Fellows.

      During the status hearing on April 11, 2023, and previously, this Court

advised Defendant Fellows of the potential difficulties that might be

encountered by a defendant representing himself while detained.

      But the manner in which Fellows ability to prepare for trial has been

obstructed by the facilities where he has been housed, the USMS moving him

from Virginia to Pennsylvania, and now back to DOC, without his personal

belongings and legal papers, and the continuing inability of the facilities to

simply deliver mailed materials to him in a timely manner, are complications

that could not have been anticipated. Notwithstanding anything that might

have gone on in the past, the fact is that Fellows ability to prepare to defend

himself at trial has been compromised by what APPEARS to be an orchestrated
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campaign by officials against whom he has made numerous complaints during

his time in pretrial detention.

      His inability to timely file responsive pleadings on issues pending before

the Court is completely the result of the disruptions that have lasted for more

than 90 days with regard to counsel’s continuing efforts to deliver materials to

him according to the procedures dictated by the facilities.

       Further, on or about July 11, 2023, an issue arose in the housing unit

at DOC where Fellows is located. That incident is reported to have landed 14

individuals in administrative segregation. Undersigned counsel has not been

able to verify if Defendant Fellows was among this group, but communication

with Defendant Fellows – relatively frequent up to July 10 – has ceased almost

entirely since that date, with only brief messages being sent confirming or

denying receipt of materials.

      Undersigned counsel is filing this motion on behalf of Defendant Fellows

due to the uncertainty over the past 3-4 weeks, the failure of discovery

materials from both undersigned counsel and the Government to reach him

timely, and the cessation of substantive communication with him for no known

reason after July 10, 2023.

      Due to issues concerning Defendant Fellows’ access to discovery and

pretrial materials necessary to prepare his defense, his sudden inability to

contact or consult with undersigned counsel with regard to such preparation,

and his inability to review and respond to pretrial motions because of the

failure of those materials to reach him just prior to and then following his

unannounced move from FCI Lewisburg to DOC, this Court should continue
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the scheduled trial date until a future date to be determined after consultation

with Fellows and counsel for the Government.



Dated: July 17, 2023                 Respectfully submitted,

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